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               IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

JOLENE SMITH,
       Plaintiff,                                    NO. 3:19-CV-0546

              v.                                     (JUDGE CAPUTO)
AMERICAN CORADIUS
INTERNATIONAL, LLC, et al.,
       Defendants.

                                  MEMORANDUM
       Presently before me is the Motion to Dismiss (Doc. 10) filed by Defendants
American Coradius International, LLC (“ACI”) and LVNV Funding, LLC (“LVNV”)
(collectively, “Defendants”). Plaintiff Jolene Smith (“Smith”) alleges that a debt
collection letter she received failed to clearly advise her of her rights in violation of
the Fair Debt Collection Practices Act (“FDCPA”), 15 U.S.C. § 1692 et seq. Because
Smith states a claim that the Validation Notice did not adequately inform her of her
right to dispute the debt under § 1692g(a) and that section of the FDCPA is not
unconstitutionally void for vagueness, Defendants’ motion to dismiss will be denied.
                                     I. Background
       The facts as alleged in the Amended Complaint are as follows:
       In or about December 2017, ACI was attempting to collect an account that
Smith allegedly owed to LVNV. (See Doc. 9, ¶ 19). Specifically, on December 12,
2017, ACI caused to be mailed a letter (the “Letter”) which contained a provision
regarding Smith’s rights to dispute the validity of the debt (the “Validation Notice”),
stating, inter alia:
             Unless you notify this office within 30 days after receiving
             this notice that you dispute the validity of this debt or any
             portion thereof, this office will assume this debt is valid. If
             you notify this office in writing within 30 days from
             receiving this notice that you dispute the validity of this debt
             or any portion thereof, this office will obtain verification of
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            the debt or obtain a copy of a judgment and mail you a copy
            of such judgment or verification. If you request of this office
            in writing within 30 days after receiving this notice this
            office will provide you with the name and address of the
            original creditor, if different from the current creditor.
(Id. at Ex. “A”).
      Smith alleges that the Letter violated the FDCPA because it did not effectively
convey to her the information required by 15 U.S.C. § 1692g, namely, that she had to
dispute the debt in writing. (See id. at ¶¶ 34-35).
      Based on the foregoing, Smith filed her Complaint against Defendants in the
Court of Common Pleas of Wayne County, Pennsylvania. (See Doc. 1, Ex. “A”).
Defendants removed the action to this Court on March 27, 2019, (see Doc. 1,
generally), and filed a motion to dismiss five days later. (See Doc. 4, generally).
Smith subsequently filed an Amended Complaint, (see Doc. 9, generally), which
Defendants have again moved to dismiss. (See Doc. 10, generally). Defendants’
motion to dismiss has now been fully briefed, so it is ripe for disposition.
                                  II. Legal Standard
      Federal Rule of Civil Procedure 12(b)(6) provides for the dismissal of a
complaint, in whole or in part, for failure to state a claim upon which relief can be
granted. See Fed. R. Civ. P. 12(b)(6). “Under the ‘notice pleading’ standard
embodied in Rule 8 of the Federal Rules of Civil Procedure, a plaintiff must come
forward with ‘a short and plain statement of the claim showing that the pleader is
entitled to relief.’” Thompson v. Real Estate Mortg. Network, 748 F.3d 142, 147 (3d
Cir. 2014) (quoting Fed. R. Civ. P. 8(a)(2)).
      When resolving a Rule 12(b)(6) motion, “a court must consider no more than
whether the complaint establishes ‘enough facts to raise a reasonable expectation that
discovery will reveal evidence of the necessary elements’ of the cause of action.”
Trzaska v. L’Oreal USA, Inc., 865 F. 3d 155, 162 (3d Cir. 2017) (quoting Connelly v.
Lane Constr. Corp., 809 F.3d 780, 789 (3d Cir. 2016)). In reviewing the sufficiency
of a complaint, a court must take three steps: (1) identify the elements of the claim; (2)
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identify conclusions that are not entitled to the assumption of truth; and (3) assume the
veracity of the well-pleaded factual allegations and determine whether they plausibly
give rise to an entitlement to relief. See Connelly, 809 F.3d at 787 (citations omitted).
“To survive a motion to dismiss, a complaint must contain sufficient factual matter,
accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v.
Iqbal, 556 U.S. 662, 678, 129 S. Ct. 1937, 173 L. Ed. 2d 868 (2009) (quoting Bell Atl.
Corp. v. Twombly, 550 U.S. 544, 570, 127 S. Ct. 1955, 167 L. Ed. 2d 929 (2007)).
                                    III. Discussion
      “Congress enacted the FDCPA in 1977 ‘to eliminate abusive debt collection
practices by debt collectors, to insure that those debt collectors who refrain from using
abusive debt collection practices are not competitively disadvantaged, and to promote
consistent State action to protect consumers against debt collection abuses.’”
Douglass v. Convergent Outsourcing, 765 F.3d 299, 301-02 (3d Cir. 2014) (quoting
15 U.S.C. § 1962(e)). Because it is “‘remedial legislation, the FDCPA must be
broadly construed in order to give full effect to these purposes.’” Id. (quoting Caprio
v. Healthcare Revenue Recovery Grp., LLC, 709 F.3d 142, 146 (3d Cir. 2013)).
      To state an FDCPA claim, Smith must allege that “(1) she is a consumer, (2) the
defendant is a debt collector, (3) the defendant's challenged practice involves an
attempt to collect a ‘debt’ as the Act defines it, and (4) the defendant has violated a
provision of the FDCPA in attempting to collect the debt.” Id. at 303 (citing Piper v.
Portnoff Law Assocs., Ltd., 396 F.3d 227, 232 (3d Cir. 2005)). The present motion
disputes only whether Smith has adequately pled the last of these elements.
      At issue in this case is § 1962g of the FDCPA. See 15 U.S.C. § 1692g.
Subsection (a) of § 1692g provides:
            Within five days after the initial communication with a
            consumer in connection with the collection of any debt, a
            debt collector shall, unless the following information is
            contained in the initial communication or the consumer has
            paid the debt, send the consumer a written notice
            containing--

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            (1) the amount of the debt;
            (2) the name of the creditor to whom the debt is owed;
            (3) a statement that unless the consumer, within thirty days
            after receipt of the notice, disputes the validity of the debt,
            or any portion thereof, the debt will be assumed to be valid
            by the debt collector;
            (4) a statement that if the consumer notifies the debt
            collector in writing within the thirty-day period that the debt,
            or any portion thereof, is disputed, the debt collector will
            obtain verification of the debt or a copy of a judgment
            against the consumer and a copy of such verification or
            judgment will be mailed to the consumer by the debt
            collector; and
            (5) a statement that, upon the consumer's written request
            within the thirty-day period, the debt collector will provide
            the consumer with the name and address of the original
            creditor, if different from the current creditor.
Id. at § 1692g(a). As described by the Third Circuit,
            Paragraphs 3 through 5 of section 1692g(a) contain the
            validation notice - the statements that inform the consumer
            how to obtain verification of the debt and that he has thirty
            days in which to do so. The Act further mandates the debt
            collector to cease all collection efforts if the consumer
            provides written notice that he or she disputes the debt or
            requests the name of the original creditor until the debt
            collector mails either the debt verification or creditor's name
            to the consumer.
Wilson v. Quadramed Corp., 225 F.3d 350, 353-54 (3d Cir. 2000). The Wilson court
further explained that “in order to comply with the requirements of section 1692g,
more is required than the mere inclusion of the statutory debt validation notice in the
debt collection letter - the required notice must also be conveyed effectively to the
debtor.” Id. at 35. The statutorily required validation notice is “to be interpreted from
the perspective of the least sophisticated debtor.” Id. (citations and quotations
omitted). Although subsection (a)(3), unlike subsections (a)(4) and (a)(5), does not
contain explicit language requiring the debtor dispute the debt in writing, the Third
Circuit has held that “given the structure of section 1692g, subsection (a)(3) must be
read to require that a dispute, to be effective, must be in writing.” Graziano v.


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Harrison, 950 F.2d 107, 112 (3d Cir. 1991).1
       Section 1692g(b) sets out the process for “[d]isputed debts” as follows:
             If the consumer notifies the debt collector in writing within
             the thirty-day period described in subsection (a) that the
             debt, or any portion thereof, is disputed, or that the consumer
             requests the name and address of the original creditor, the
             debt collector shall cease collection of the debt, or any
             disputed portion thereof, until the debt collector obtains
             verification of the debt or a copy of a judgment, or the name
             and address of the original creditor, and a copy of such
             verification or judgment, or name and address of the original
             creditor, is mailed to the consumer by the debt collector. . .
15 U.S.C. § 1692g(b).
       Smith alleges in the matter sub judice that Defendants’ Validation Notice
violates the FDCPA because it does not convey all the information required by §
1692g and it implies that a dispute can be lodged orally. (See Doc. 9, ¶¶ 32-35).
Pointing to the first sentence of the Validation Notice, (see id. at Ex. “A”, (“Unless
you notify this office within 30 days after receiving this notice that you dispute the
validity of this debt or any portion thereof, this office will assume this debt is valid.”)),
Smith insists that this language “does not specify whether a dispute must be in writing
or if the dispute can be made orally.” (Id. at ¶ 28). So when read in context of the
Validation Notice as a whole, Smith maintains that the least sophisticated debtor
would interpret the writing to authorize oral disputes.                 (See id. at ¶¶ 27-31).
Defendants disagree, arguing that the Validation Notice tracks the language of the
statute, so the Letter “as a matter of law effectively conveyed the validation notice,
designed by Congress, to the least sophisticated consumer.” (Doc. 10-1, 5-13).
Alternatively, Defendants argue that the statute is unconstitutionally void for
vagueness. (See id. at 13-15).

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         Other Courts of Appeals have disagreed with the Third Circuit’s reading of
         subsection (a)(3) and held that it does not require a dispute to be in writing. See,
         e.g., Clark v. Absolute Collection Serv., Inc., 741 F.3d 487, 490 (4th Cir. 2014);
         Hooks v. Forman, Holt, Eliades & Ravin, LLC, 717 F.3d 282, 286 (2d Cir. 2013);
         Camacho v. Bridgeport Fin. Inc., 430 F.3d 1078, 1081 (9th Cir. 2005).

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        Several districts courts in this Circuit have recently addressed the argument
presented by Smith here in the context of the same - or a virtually identical -
Validation Notice. Compare Ulrich v. Diversified Consultants Int’l, No. 18-15794,
2019 WL 2417628 (D.N.J. June 10, 2019) (Wolfson, J.) (finding validation notice
would not confuse the least sophisticated debtor and granting motion to dismiss),
Belinski v. Americollect, Inc., No. 19-4401, 2019 WL 2315042 (D.N.J. May 31, 2019)
(McNulty, J.) (same), and Rodriguez v. Northland Grp., LLC, No. 18-7692, 2018 WL
6567705 (D.N.J. Dec. 13, 2018) (Wolfson, J.) (same), with Joseph v. Rickart
Collection Sys., Inc., No. 19-5413, 2019 WL 2281581 (D.N.J. May 29, 2019)
(Thompson, J.) (finding validation notice did not effectively convey a consumer’s
rights and denying motion to dismiss), Henry v. Radius Global Solutions, LLC, 357
F. Supp. 3d 446 (E.D. Pa. Jan. 18, 2019) (Kearney, J.) (same), Durnell v. Stoneleigh
Recovery Assocs., LLC, No. 18-2335, 2019 WL 121197 (E.D. Pa. Jan. 7, 2019)
(Brody, J.) (same, but denying motion for summary judgment), Guzman v. HOVG,
LLC, 340 F. Supp. 3d 526 (E.D. Pa. Oct. 31, 2018) (Beetlestone, J.) (same, but
denying motion to dismiss), and Cadillo v. Stoneleigh Recovery Assocs., LLC, No. 17-
7472, 2017 WL 6550486 (D.N.J. Dec. 21, 2017) (Wigenton, J.) (same).2
        I, like the judges in Joseph, Henry, Guzman, and Cadillo, believe that Smith
states a plausible claim that the Validation Notice violated the FDCPA. Judge
Kearney provided a succinct explanation as to this conclusion in Henry, so I repeat it
here:
             Under the well-established law in our circuit, to be effective
             under Section 1692g(a)(3), a dispute of a debt must be in
             writing. Radius's validation notice fails to inform the reader
             of this requirement. We acknowledge Radius tracks the
             statute in its (a)(3) notice but merely tracking the statutory
             language is insufficient to comply with Section 1692g - the

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         Defendants also cite several other decisions with the same or similar language to
         the Validation Notice at issue here, (see Doc. 11-1, 6-7), but those cases raised
         different legal theories than the one presented by Smith in this case. As such,
         those decisions are not instructive to the matter sub judice.

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           validation notice “must also be conveyed effectively to the
           debtor.” In the second sentence containing the (a)(4) notice,
           Radius informed Ms. Henry what information she can obtain
           “if” she disputes the debt in writing: “If you notify this office
           in writing within 30 days after receiving this notice that you
           dispute the validity of this debt, or any portion thereof, this
           office will obtain verification of the debt or obtain a copy of
           a judgment and mail you a copy of such judgment or
           verification.” The “least sophisticated debtor” could
           reasonably interpret this language to mean she can
           effectively dispute the debt orally, despite our Court of
           Appeals in Graziano foreclosing this option. Radius argues
           the use of “if” implies a condition rather than an option.
           While this may be true, we cannot rule out the possibility the
           “least sophisticated debtor” might interpret “if” to imply two
           options - she can dispute the debt either orally or in writing.
           A validation notice violates the Act when the “least
           sophisticated debtor” could read the notice “to have two or
           more different meanings, one of which is inaccurate.”
Henry, 357 F. Supp. 3d at 457-58 (footnotes and emphasis omitted).
      Judge Slomsky’s reasoning in Grady v. Portfolio Recovery Associates, LLC, No.
18-2393, 2019 WL 2226015, at *6-7 (E.D. Pa. May 23, 2019) on a motion for
summary judgment is equally on-point as well:
           [T]he Court finds that the Validation Notice is flawed for the
           same reasons. The primary flaw is that the first sentence of
           the Validation Notice does not explicitly inform Plaintiff that
           she must raise all disputes regarding her debt with PRA in
           writing. Defendant argues this is a non-issue because the
           first sentence of the Validation Notice tracks, verbatim, the
           statutory language of § 1692g(a)(3). (Doc. No. 7-2.)
           Because § 1692g(a)(3) does not include the words “in
           writing,” Defendant argues that it cannot be held liable for
           omitting those words from the first sentence of its Validation
           Notice. (Id.) While Defendant is correct that its Validation
           Notice tracks the language of § 1692g(a)(3), it is
           well-established that mirroring statutory language is not
           enough to ensure FDCPA compliance. The problem with the
           first sentence of Defendant’s Validation Notice is that,
           despite mirroring the statue, it leaves open the possibility
           that a consumer can notify PRA of a dispute verbally, a
           method expressly prohibited by the Third Circuit Court of
           Appeals. Graziano, 950 F.2d at 112.
                 The Validation Notice is also flawed by Defendant’s
           use of the word “if” in the second and third sentences. As
           previously explained, the first sentence of the Validation
           Notice, read in conjunction with the second and third “if”
           sentences, can lead the least sophisticated debtor to the
           reasonable yet erroneous interpretation that disputes can be
           made to PRA either in writing or verbally, but that a written
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              dispute is required only if the debtor wants verification of
              their debt, a copy of the judgment, or information from PRA
              regarding the name/address of their original creditor. This
              potential interpretation is the reason why the Court cannot
              say that as a matter of law, the Validation Notice effectively
              conveys a consumer’s rights to the least sophisticated debtor.
                     Moreover, although other district courts have held that
              a validation notice like the one in this case complies with the
              FDCPA, this Court agrees with the court in Cadillo that “if
              federal judges ‘have divided on the best reading’ of this
              validation notice, “then surely the least sophisticated debtor
              would be similarly confused.” 2019 WL 1091391, at *5
              (quoting Guzman v. HOVG, LLC, 340 F. Supp. 3d 526, 532
              (E.D. Pa. 2018)).
Id.
        For these reasons, Defendants’ motion to dismiss will be denied.
        In addition, and as mentioned before, Defendants argue in the alternative that
§ 1692g(a) is unconstitutionally void for vagueness.3 This same argument was
addressed and rejected by Henry, as well as the United States District for the District
of New Jersey in Vedernikov v. Mercantile Adjustment Bureau LLC, No. 18-17364,
2019 WL 1857119, at *4 (D.N.J. Apr. 25, 2019) (Thompson, J.). I agree with Henry
and Vedernikov that this section of the FDCPA is not void for vagueness.
        “The void for vagueness doctrine arose as an aspect of Fourteenth Amendment
due process in the context of criminal statutes because it was thought unfair to punish
persons for conduct which they had no notice could subject them to criminal
punishment.” San Filippo v. Bongiovanni, 961 F.2d 1125, 1135 (3d Cir. 1992). It has,
though, been extended to civil cases. See id. (citations omitted). “ Lesser degrees of
specificity are required to overcome a vagueness challenge in the civil context than in
the criminal context, however, because the consequences in the criminal context are
more severe.” Id. (citing Village of Hoffman Estates v. The Flipside, Hoffman Estates,


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          Pursuant to 28 U.S.C. § 2403, the United States filed an Acknowledgment of
          Defendants’ Notice of Constitutional Challenge. (See Doc. 13, generally). The
          United States took the position that “intervention at this stage would be
          premature.” (Id. at 1).

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Inc., 455 U.S. 489, 498-99, 102 S. Ct. 1186, 71 L. Ed. 2d 362 (1982)). The doctrine
is rooted in concepts of fairness, and requires the statute “only to give ‘fair warning’
of prohibited conduct.” Id. (quoting Colten v. Kentucky, 407 U.S. 104, 110, 92 S. Ct.
1953, 32 L. Ed. 2d 584 (1972)).
      Economic statutes, like the FDCPA, are “‘subject to a less strict vagueness test
because its subject matter is often more narrow, and because businesses, which face
economic demands to plan behavior carefully, can be expected to consult relevant
legislation in advance of action.’” Henry, 357 F. Supp. 3d at 459 (quoting Flipside,
455 U.S. at 498, 102 S. Ct. 1186).
      Defendants’ motion will not be granted on vagueness grounds. Defendants do
not cite any authority finding § 1692g(a) unconstitutionally vague, and two decisions
from courts in this Circuit have rejected this exact argument. Defendants also had
“fair warning that § 1692(g) requires it to inform consumers that they must dispute
debts in writing.” Vedernikov, 2019 WL1857119, at *4. “Debt collectors know under
the well-established law in our circuit a dispute under Section 1692g(a), to be
effective, must be in writing. Debt collectors are sophisticated parties involved in a
business requiring them to understand the law in the jurisdiction where they conduct
such business.” Henry, 357 F. Supp. 3d at 460. Finally, “a conflict in interpretation
among courts does not amount to unconstitutional vagueness.” Vedernikov, 2019
WL1857119, at *4 (citing United States v. Kernell, 667 F.3d 746, 754 (6th Cir. 2012);
Adams Outdoor Adver. Ltd. P’ship v. Pa. Dep’t of Transp., 307 F. Supp. 3d 380, 392
(E.D. Pa. 2018)); Henry, 357 F. Supp. 3d at 459.             Section 1692g(a) is not
unconstitutionally void for vagueness.
                                     IV. Conclusion
      For the above stated reasons, Defendants’ motion to dismiss will be denied.
      An appropriate order follows.
June 17, 2019                                     /s/ A. Richard Caputo
Date                                              A. Richard Caputo
                                                  United States District Judge
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